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13
                             UNITED STATES DISTRICT COURT
14                         NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
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     VLSI TECHNOLOGY, LLC,                  Case No. 5:17-cv-05671-BLF-NC
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                              Plaintiff,    INTEL CORPORATION’S REPLY IN
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          v.                                SUPPORT OF ITS OMNIBUS MOTION
19                                          FOR SUMMARY JUDGMENT
     INTEL CORPORATION,
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                              Defendant.
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 1   the applicants added the “upon identifying” limitation to claim 20 during prosecution for reasons of

 2   patentability. Mot. 4-5. VLSI asserts the amendment merely clarified language already in the claim.

 3   Opp. 5. But that amendment (1) added an entirely new temporal limitation to claim 20, and (2) arose

 4   from an Examiner interview discussing the obviousness of the claim (over the prior art Bernstein

 5   reference), after which the Examiner expressly conditioned allowance of the claim on making the

 6   amendment. That is a classic case of amendment-based prosecution history estoppel. Mot. 4-5.

 7          VLSI posits that the interview could not have related to claim 20 because the Examiner had

 8   previously rejected that claim based on Bernstein in combination with Ghiasi, and not the

 9   Bernstein/Kim combination discussed during the interview. Opp. 5. But the interview summary

10   identified claim 20 as one of the claims discussed. Dkt. 158-13 [’836 File History] 1934. And the

11   specific amendment to claim 20 that the Examiner required after the interview (to add the “upon

12   identifying” limitation) was consistent with how the applicants distinguished Bernstein during

13   prosecution (on the basis that Bernstein fails to teach identifying single-core tasks). E.g., id. 1878-79,

14   1916 (asserting that because applicants “admitted that ‘Bernstein does not specifically teach

15   identifying a processing task that cannot be run by a plurality of cores’ … it should be clear that

16   Bernstein does not distinguish between ‘multi-core’ applications and ‘single core’ applications”).

17          VLSI contends the amendment bore no more than a tangential relationship to the sequencing

18   of steps required by the “upon identifying” limitation. Opp. 6. But the claim did not require that

19   sequencing before the amendment, and the Examiner’s summary explains the language added a

20   temporal sequencing requirement: i.e., “It was agreed to amend independent claim[] … 20 to clarify

21   that a core is selected from the plurality of cores when it is identified that a task cannot be run across

22   the plurality of cores.” Dkt. 158-13 [’836 File History] 1934 (emphasis added). VLSI also notes claim

23   20 does not include the word “when,” but “upon identifying” imposed the same temporal requirement.

24          Argument-Based Estoppel: VLSI’s DOE theory also is foreclosed because, as the Court found

25   during Markman, the applicants made “a clear and unmistakable disavowal” of claim scope during

26   prosecution by representing that the “upon identifying” limitation was missing from the prior art. Mot.

27   5. VLSI asserts these arguments concerned claim 10, Opp. 6-7, but the Markman ruling found that all

28   claims include the same “upon identifying” requirement. Dkt. 241 [Markman Order] 22-25. VLSI
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 1   also contends the applicants’ arguments only concerned whether the prior art disclosed the selecting

 2   step, and not the timing of that step. Opp. 7. But VLSI cannot avoid estoppel by trying to separate

 3   the requirement to identify a single-core task from the timing for that identification. In any event, the

 4   file history is replete with arguments that the claimed invention requires identifying a single-core task

 5   before selecting the core on which to run that task. E.g., Dkt. 158-13 [’836 File History] 1876 (“[A]

 6   ‘single core’ processing task is identified. Once a ‘single core’ task is identified (a.k.a., a processing

 7   task that cannot be run by the plurality of cores), the claimed methodology selects the fastest core to

 8   run the ‘single core’ task.” (emphasis added)); id. at 1913-14 (“[P]rocessing speed parameters are

 9   measured and stored for each of a plurality of cores, and upon identifying a single-core processing

10   task that cannot be run by the plurality of cores, the core having the fastest measured processing speed

11   parameter is selected to run the identified single-core processing task.” (emphasis added)).

12          Claim Vitiation: VLSI asserts that its DOE theory would not vitiate the “upon identifying”

13   requirement because it permits infringement if the identification/selection steps occur “substantially

14   simultaneously.” Opp. 7. But that is precisely the problem. As VLSI and its expert Dr. Conte have

15   conceded, “‘upon identifying’ … is a temporal term that describes when something occurs,” Dkt. 143

16   [VLSI Markman Br.] 20, and “specifies a predicate” to selecting the fastest core, Dkt. 579-05 [Conte

17   Dep.] 100:9-11. By contrast, VLSI’s “substantially simultaneously” theory includes any ordering of

18   the identification and selection steps—such that the identification step could occur before, at the same

19   time, or after the selection step. Because that would eliminate the temporal ordering provided by

20   “upon identifying,” VLSI’s DOE theory is foreclosed by the doctrine of claim vitiation.

21          C.      No Infringement Because Intel’s Testing Occurs Outside The United States.

22          VLSI does not dispute Intel performs the testing accused for the “measuring” limitation (claims

23   1, 9, 20, and 21) outside the United States—which requires summary judgment of no infringement

24   because method claims are only infringed if all steps are practiced in the United States. Mot. 6-8.

25          VLSI attempts to avoid the undisputed fact that 0% of the accused testing occurs in the United

26   States by arguing that a stipulation between the parties allows it to treat 70% of that testing as having

27   occurred in the United States. Opp. 8. But nothing in that stipulation purported to allow VLSI to turn

28   indisputably non-infringing activities into infringing activities, or otherwise provides for infringement
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 1   by activities occurring outside the United States. To the contrary, the stipulation explicitly states that

 2   “[b]y entering into this agreement, neither party makes any admission about patent infringement.”

 3   Dkt. 581-2 [U.S. Nexus Stip.] 2 (emphasis added). While VLSI asserts that “Intel stipulated that 70%

 4   of those activities that meet the technical requirements are deemed to have a U.S. nexus under 35

 5   U.S.C. 271(a),” Opp. 8, VLSI ignores that the “technical requirements” of infringement include the

 6   requirement that infringement occur within the United States, see NTP, Inc. v. Research In Motion,

 7   Ltd., 418 F.3d 1282, 1318 (Fed. Cir. 2005). The stipulation did not relieve VLSI of its burden to prove

 8   infringement of method claims under Section 271(a), which requires not only a U.S. nexus, but also

 9   that “each of the steps” in that method be “performed within this country.” Id. (emphasis added).

10          Only after VLSI meets its burden to show that a product or activity “meet[s] the technical

11   requirements of any asserted VLSI patent claim” can VLSI rely on the stipulation to establish that

12   70% of Intel’s total global sales, revenues, and profits for that product or activity have a U.S. nexus.

13   Dkt. 581-2 [U.S. Nexus Stip.] 2. That is purely an accounting exercise, not an infringement

14   assessment.    The stipulation states that this calculation is “without regard to geographic

15   considerations” because the agreed-upon percentage applies to a “total, global number”; the stipulation

16   does not remove geographic considerations from VLSI’s proof of infringement (which is a technical

17   predicate to the stipulation applying in the first place). Id. And the reference in the stipulation to

18   “each subsection of 35 U.S.C. § 271” is not a shortcut to proving infringement. It simply reflects that

19   the agreed-upon U.S. nexus percentage includes everything covered by § 271 (e.g., making, selling,

20   importing, etc.). Ex. 49 [6/19/18 Letter] (explaining how 70% was calculated).

21          VLSI’s present argument also conflicts with its own conduct in this litigation. For example,

22   over two years after entering the U.S. Nexus Stipulation, VLSI served a Rule 30(b)(6) notice to Intel

23   that sought testimony on “[t]he place(s) of design, manufacture, assembly, and testing of the Accused

24   Products and their component parts,” Ex. 50 [30(b)(6) Notice] 22, and then questioned Intel’s

25   corporate designee on the topic for the products accused of infringing the ’836 patent, Ex. 51

26   [Cavagnaro Dep.] 69:19-89:7, 94:11-109:19, 133:8-135:9, 136:6-139:16, 158:7-161:6.                 If the

27   stipulation meant what VLSI now contends, there would have been no reason to seek that discovery.

28          Finally, summary judgment also is required for apparatus claims 10-11, 13, and 17, all of which
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 1   require “a performance measurement circuit for measuring a performance parameter value for said

 2   core.” VLSI does not dispute that the claim language “for measuring” requires the accused products

 3   to be “reasonably capable” of performing the claimed function, or that the only place where they have

 4   that capability is when attached to an ATE tester at Intel’s facilities in Malaysia and Costa Rica. Mot.

 5   7; Opp. 9. VLSI claims that Dr. Conte has established the “technical requirements” necessary to show

 6   infringement, but ignores that those opinions are limited to the ATE testing Intel performs overseas.

 7   Mot. 7; Dkt. 579-05 [Conte Dep.] 111:4-113:18 (Dr. Conte testifying that he had no opinion and had

 8   not considered whether the alleged performance measurement circuit in Intel’s products could be used

 9   when not connected to an external tester). VLSI also seeks to sidestep its territoriality problem by

10   resorting to the parties’ stipulation, Opp. 8, but that argument fails for the same reasons detailed above.

11   II.     INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO INFRINGEMENT OF THE ’922 PATENT.

12           Intel is entitled to summary judgment of no infringement for the ’922 patent because VLSI has

13   failed to identify any component in the accused products that converts a “reference signal (VSS),” and

14   instead points to the same VCCIN signal as meeting both signal requirements (a supply signal VDD

15   and a reference signal VSS). Mot. 8-9. VLSI’s opposition fails to justify a different result.

16           First, VLSI argues that the claims “do not forbid the claimed ‘supply signal’ from being the

17   ‘reference signal.’” Opp. 9. But the claims do not simply require a generic “supply signal” and a

18   generic “reference signal”; they require a specific “supply signal (VDD)” and a specific “reference

19   signal (VSS).” Dkt. 1-5 [’922 patent], claims 1, 4, 5, 17-18 (emphasis added). That plain claim

20   language “forbid[s]” the same signal from meeting the requirement for both claimed signals because,

21   as even Dr. Mangione-Smith admits, (1) VDD and VSS are known types of signals that have different

22   voltage levels, and (2) the difference between VDD and VSS is what defines a circuit’s voltage, such

23   that a circuit would have 0 volts (and thus would not work) if VDD and VSS were the same. Mot. 9.

24           VLSI cites Powell v. Home Depot U.S.A., Inc, to argue “[t]here is no legal reason why the same

25   element of an accused product cannot as a general matter satisfy two distinct claim limitations.” Opp.

26   9-10. But Intel is not arguing “as a general matter” that the same structure can never satisfy multiple

27   claim limitations. Rather, as detailed above, Intel’s argument turns on the specific wording of the

28   asserted claims, which requires two separate signals. Further, Powell merely found that the same
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 1   component could satisfy the claim requirements for a “cutting box” and “dust collection structure”

 2   where the specification expressly disclosed that the “cutting box may also function as a ‘dust collection

 3   structure.’” 663 F.3d 1221, 1231-32 (Fed. Cir. 2011). Here, by contrast, the ’922 patent never says

 4   that reference signal VSS may also function as supply signal VDD, and instead consistently shows

 5   them in every embodiment as separate signals with separate voltages. Mot. 9 (collecting instances).

 6          Second, VLSI contends that the ’922 specification “at most[] only show[s] separate

 7   discussion” of VDD and VSS. Opp. 10. That is incorrect. Every embodiment describing VDD and

 8   VSS in the same circuit shows them as separate voltages. E.g., Dkt. 1-5 [’922 patent], Figs. 1-7.

 9   VLSI’s suggestion that the specification does not always label a “reference signal” VSS is incorrect.

10   Opp. 10. In every instance, the specification defines the “reference signal” as “VSS” either explicitly

11   in the text or by referring to a figure that labels the “reference signal” as “VSS.” Regardless, the

12   claims use both “VDD” and “VSS,” and that language controls. VLSI also says the ’922 specification

13   states that VDD can have separate or common sources, and multiple components can share VSS. Opp.

14   10. But the issue here is whether VDD and VSS can share the same signal, and VLSI identifies nothing

15   on this issue—because the ’922 patent never describes VDD and VSS as sharing the same signal. And

16   although VLSI points to Intel’s use of “Vcc” or “Vin” in Intel’s own documents as shorthand for its

17   input supply voltage VCCIN, Opp. 10, VLSI fails to identify any instance in which Intel used those

18   terms to also refer to a reference signal VSS—again, because VCCIN and VSS are two different things.

19   VLSI also fails to explain how Intel’s internal documents could possibly rewrite the scope of the

20   asserted claims.

21          Third, VLSI argues that Intel and its expert “disregard[] VLSI’s opposite expert evidence”

22   about Intel’s products. Opp. 10-11. But there is no dispute about how Intel’s products work, or that

23   Dr. Mangione-Smith identifies the same VCCIN signal in those products as satisfying both VDD and

24   VSS limitations. The only dispute turns on whether VLSI can satisfy these requirements directed to

25   two different signals with a single signal—an issue of claim construction that the Court must resolve,

26   and can do so on summary judgment. See General Mills, Inc. v. Hunt-Wesson, Inc., 103 F.3d 978,

27   983 (Fed. Cir. 1997). VLSI’s suggestion that juries can resolve disputes about a claim term’s meaning,

28   Opp. 11, violates Federal Circuit law, see O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521
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 1   F.3d 1351, 1360 (Fed. Cir. 2008). VLSI also suggests that a dispute exists as to whether Dr. Mangione-

 2   Smith admitted that VDD and VSS are different signals. Opp. 11. But there is no dispute on that issue

 3   either, as the deposition record confirms. Supra p. 5; Mot. 9; Dkt. 579-11 [Mangione-Smith Dep.]

 4   132:8-24, 137:13-138:3. VLSI cannot avoid summary judgment simply by offering conclusory

 5   assertions contradicting Dr. Mangione-Smith’s testimony.         See Glaverbel Societe Anonyme v.

 6   Northlake Mktg. & Supply, Inc., 45 F.3d 1550, 1562 (Fed. Cir. 1995) (requiring “sufficient substance,

 7   other than attorney argument, to show that the issue requires trial”); Disc Golf Ass’n, Inc. v. Champion

 8   Discs, Inc., 158 F.3d 1002, 1008 (9th Cir. 1998) (“A party cannot create a triable issue of fact, and

 9   thus survive summary judgment, merely by contradicting his or her own sworn … testimony[.]”).

10          Finally, VLSI argues that the parenthetical in “reference signal (VSS)” can be ignored as a

11   mere reference to “examples” in the specification. Opp. 11-12. But none of VLSI’s cases supports

12   that result. In NXP USA, Inc. v. Impinj, Inc., the court never held that the parenthetical in “specific

13   useful data (nxUDB)” was not limiting; it construed “(nxUDB)” to mean “a number (n) of ‘useful data

14   blocks’ (UDB)” and limited the claim to “some, but not all, useful data (UD).” 2022 WL 16716226,

15   at *10 (W.D. Wash. Nov. 4, 2022). Here, by contrast, VLSI asks this Court to ascribe “VSS” no

16   meaning at all. Moreover, the parentheticals in Core Wireless and Hochstein were “reference

17   characters” or “reference numbers” used to identify elements in patent drawings. MPEP 608.01(f);

18   Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., 2015 WL 6956722, at *5, *7 (E.D. Tex. Nov. 9,

19   2015) (addressing whether “reference numbers” were limiting); Hochstein v. Microsoft Corp., 2009

20   WL 1838975, at *12-16 (E.D. Mich. June 22, 2009) (addressing whether “reference characters” were

21   limiting). Here, “VSS” is not a reference character or number. It is a well-known term with an

22   understood meaning in the field, as Dr. Mangione-Smith concedes. Dkt. 579-11 [Mangione-Smith

23   Dep.] 139:3-141:6. Further, the ’922 patent distinguishes between reference characters (bolded

24   throughout) and substantive signal names like “VSS” and “VDD” (never bolded). E.g., Dkt. 1-5 [’922

25   patent], 7:57-8:7, Fig. 4. Thus, just as in Janssen Pharmaceutica, N.V. v. Eon Labs Manufacturing,

26   Inc., the parentheticals here are substantive limitations. 134 F. App’x 425, 428 (Fed. Cir. 2005).

27          VLSI also argues that “[t]he non-parenthesized ‘VSS’ in claim 5’s ‘VSS switch’” supports its

28   position. Opp. 12. But claim 5 uses “VSS switch” to refer back to the term “reference signal (VSS)”
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 1   in claim 4—thus confirming that “(VSS)” in claim 4 is limiting and has meaning. Mot. 11. Moreover,

 2   VLSI undercuts its position by conceding that “VSS switch” in claim 5 “refers to one of two separately

 3   recited switches (the other a ‘VDD switch’),” and VLSI alleges that it therefore identified “separate”

 4   components for the VSS and VDD switches. Opp. 12. That confirms the problem here. The claims

 5   also require two “separately recited” signals—a VSS signal and a VDD signal—and it is undisputed

 6   that Dr. Mangione-Smith has only identified one signal as meeting both.

 7   III.     INTEL IS ENTITLED TO SUMMARY JUDGMENT OF INDEFINITENESS FOR THE ’922 PATENT.

 8            VLSI does not explain how the claims could be definite where (1) the patent makes clear that

 9   a “power island” is a group of “components with similar power requirements,” but (2) the claims

10   require certain components within the “power island” to have “power characteristics” that are

11   “different” (claims 4 and 5) or “partially different” (claim 18). Mot. 11-13.

12            First, VLSI asserts that Intel’s indefiniteness argument presents “a highly factual dispute”

13   about “the plain and ordinary meaning of the term [‘power island’].” Opp. 12, 15. But “indefiniteness

14   is a question of law” that courts can resolve as part of claim construction. IPXL Holdings, LLC v.

15   Amazon.com, Inc., 430 F.3d 1377, 1380 (Fed. Cir. 2005); ePlus, Inc. v. Lawson Software, Inc., 700

16   F.3d 509, 517 (Fed. Cir. 2012). Indeed, this Court and other courts have found claim terms indefinite

17   before trial. Mot. 12 (citing cases). The only dispute Dr. Mangione-Smith has raised is purely legal—

18   whether “power island” is a limiting term with meaning. E.g., Ex. 52 [Mangione-Smith Reply] ¶ 66.

19            Second, VLSI argues that “power island” is not limiting because it appears in the preamble of

20   claim 1. Opp. 12-13. But VLSI took the opposite position during IPRs, in which it admitted that

21   “[c]laim 1 requires the ‘conversion controller’ to be on the power island,” and also relied on claim 1’s

22   “power island” requirement to distinguish prior art. Ex. 53 [IPR2018-01033 Sur-reply] 31-32

23   (emphasis added); see also Ex. 54 [IPR2018-01144 Sur-reply] 28-30; Ex. 55 [IPR2018-01033 POR]

24   66-67.2 VLSI also ignores that every asserted claim contains one or more non-preamble limitations

25
     2
         Although those arguments concerned unasserted claims 3 and 19, claim 3’s “the power island”
26
     derives its antecedent basis from claim 1’s preamble, and claim 19 depends from claim 4, which
27
     depends from claim 1. Dkt. 1-5 [’922 patent], claims 3, 19. The “power island” limitation should be
28
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 1   directed to “the power island.” Dkt. 1-5 [’922 patent], claims 4, 17 (emphasis added); see Eaton Corp.

 2   v. Rockwell Int’l Corp., 323 F.3d 1332, 1339 (Fed. Cir. 2003) (“When limitations in the body of the

 3   claim rely upon and derive antecedent basis from the preamble, then the preamble may act as a

 4   necessary component of the claimed invention.”). VLSI also dismisses Intel’s cited cases “addressing

 5   terms of degree” as “inapposite because ‘power island’ is not a term of degree.” Opp. 13. But the

 6   patent describes the claimed “power island” as including components with “similar power

 7   requirements” that also have “different” or “partially different” “power characteristics”—i.e., terms

 8   of degree. Mot. 11-12; supra p. 8. VLSI also asserts that none of these cases “address preamble

 9   language,” Opp. 13, but that argument also fails because the preamble is limiting (as discussed above).

10          Third, VLSI argues that Intel waived this indefiniteness issue by not raising it during

11   Markman. Opp. 14. But the parties agreed Intel would not argue during Markman that “power island”

12   is indefinite, and expressly noted that “Intel may raise at a later time … such as in an authorized motion

13   for summary judgment[] any indefiniteness arguments as to th[at] term[].” Dkt. 106. VLSI also

14   incorrectly asserts that Intel never disclosed its indefiniteness theory in invalidity contentions or expert

15   reports. Opp. 14. There was no waiver. Ex. 57 [3/19/18 Contentions] 1594-95; Ex. 58 [1/26/22

16   Contentions] 1377; Dkt. 678-12 [Apsel Rpt.] ¶ 1181; Ex. 59 [Apsel Reply Rpt.] ¶ 666.

17          Fourth, VLSI argues that first-named inventor Mr. Evoy’s testimony—that the meaning of

18   “power island” is “fluid”—does not support Intel when “[v]iewed in context.” Opp. 14. VLSI cannot

19   avoid summary judgment based on this conclusory argument. See TechSearch, LLC v. Intel Corp.,

20   286 F.3d 1360, 1371-72 (Fed. Cir. 2002). VLSI also contends that Mr. Evoy’s testimony should be

21   disregarded because he did not study the ’922 patent or its file history. Opp. 14. But nowhere in the

22   cited testimony did Mr. Evoy ask for those things or qualify his testimony based on his recollection of

23   the patent. Dkt. 585-2 [Evoy Dep.] 96:4-17, 97:23-98:1, 82:22-24. Contrary to VLSI’s argument, an

24   inventor’s understanding of a claim term is probative. Markman v. Westview Instruments, Inc., 52

25

26   interpreted consistently across these related claims. See In re Varma, 816 F.3d 1352, 1363 (Fed. Cir.
27   2016). VLSI criticizes Intel for not expressly stating in the IPR that the preamble was limiting, Opp.
28   14-15, but Intel’s IPR petitions treated “power island” as limiting, e.g., Ex. 56 [IPR2018-01033] 37.
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 1   671-3 at 1-11, Intel is licensed to practice VLSI’s patents. VLSI’s arguments otherwise lack merit.

 2          First, VLSI argues that Fortress, Finjan, and VLSI do not “own” each other, that “VLSI and

 3   Finjan have nothing to do with each other,” and that VLSI was created after execution of the License.

 4   Opp. 21-22. But VLSI is an “Affiliate” because (1) the License defines “Affiliates” as those under

 5   “common control” of the “Finjan Parties,” including future entities and without requiring common

 6   ownership, and (2) Fortress exercises common control over VLSI and Finjan

 7                                              . Mot. 19; Dkt. 671-3 at 2-4. VLSI’s cited cases, Opp. 21;

 8   see also Dkt. 588-2 at 15, focus on different issues of control than are at issue here and do not involve

 9   situations in which an entity                                     of multiple patent assertion entities.

10          Contrary to VLSI’s blanket assertions, Opp. 22, non-signatories to an agreement (or later-

11   created entities) can be bound where the non-signatory meets the agreement’s definition of “Affiliate.”

12   Mot. 20 (collecting cases); Acquisitions and IP Licenses: Looking Out for Poison Pill Affiliate, 249

13   N.Y. L.J. 2 (2013). VLSI incorrectly claims that Intel’s cited cases apply only to “‘affiliates’ created

14   by and ‘under the control of a party to the agreement.’” Opp. 22. In Shorenstein, for example, the

15   direct party to the agreement was CSH, but the Delaware Supreme Court held the agreement bound

16   CSH’s owner (the Hays) and a separate theater Carole Hays owned. 213 A.3d 39, 42, 56-57 (Del.

17   2019); see id. 42 n.2, 43 n.4. That is directly analogous to the License here binding Fortress and VLSI.

18          Second, VLSI asserts that its patents are not “Finjan’s Patents” because “NXP and others

19   hav[e] ongoing financial interests in royalties.” Opp. 22. But VLSI is not

20                                                                              , and VLSI has identified no

21   evidence that                                                               . Dkt. 671-3 at 5-6.

22          Finally, VLSI argues that Intel’s defense is precluded. Opp. 21. But claim preclusion does

23   not apply because the causes of action in the Texas action and this case involve different patents,

24   different accused products, and different features from the patents and accused products. Dkt. 671-3

25   at 11-13 (collecting cases). Likewise, issue preclusion does not apply because the Texas order denying

26   Intel leave to amend did not resolve the issue of common control and rested primarily on an alleged

27   procedural default, so—contrary to VLSI’s assertion—the court’s additional finding that Intel’s

28   defense was futile was not essential to the judgment. Mot. 20-21; Dkt. 671-3 at 13-15.
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 1   VII.   INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO WILLFUL OR INDIRECT

 2          INFRINGEMENT, AND NO ENHANCED DAMAGES.

 3          Summary judgment of no willful or indirect infringement should enter because the undisputed

 4   record shows that Intel lacked the requisite knowledge of both the asserted patents and its alleged

 5   infringement, and summary judgment of no enhanced damages should enter because VLSI has not

 6   offered evidence sufficient to prove that Intel committed the type of “egregious” conduct required for

 7   enhanced damages. Mot. 21-24. VLSI’s opposition confirms that summary judgment is warranted.

 8          No Willful or Indirect Infringement: In its brief, VLSI does not identify any evidence that

 9   anyone at Intel knew about both (1) the asserted patents and (2) any Intel infringement of those patents.

10   VLSI instead attempts to impute such knowledge to Intel, but none of its arguments has merit.

11          First, VLSI alleges that “Intel regularly monitors competitors’ (including NXP’s) activities,

12   and has acknowledged its competitors have patents covering similar products.” Opp. 23. That

13   argument is (1) waived because VLSI did not raise it in its complaint or contentions, and (2) irrelevant

14   and misleading given that VLSI admits that

15                                                                       . Ex. 68 [VLSI Interrog. Resp.] 6.

16   Nor did VLSI’s cited cases find the requisite knowledge based on mere monitoring of competitors’

17   activities. See WCM Indus., Inc. v. IPS Corp., 721 F. App’x 959, 971 (Fed. Cir. 2018); Dentsply

18   Sirona, Inc. v. Edge Endo, LLC, 2019 WL 1517584, at *4 (D.N.M. Apr. 8, 2019).

19          Second, VLSI notes that Intel “cited the [’836] patent’s application during prosecution.” Opp.

20   23. But at most, that shows pre-suit knowledge of that patent, and is irrelevant to VLSI’s burden to

21   prove that Intel knew it infringed that patent (or the other asserted patents). Indeed, consistent with

22   Intel’s cited cases, Mot. 22, VLSI’s sole cited case found that “citing a patent application” during

23   prosecution was insufficient to establish pre-suit knowledge of infringement. MasterObjects, Inc. v.

24   Amazon.com, Inc., 2021 WL 4685306, at *4 (N.D. Cal. Oct. 7, 2021).

25          Third, VLSI asserts willful blindness based on claims that “Intel has a policy discouraging

26   engineers from looking at third-party patents.” Opp. 23-24. Because VLSI also never raised this

27   argument in its contentions, it is waived. Further, the assertion cannot avoid summary judgment given

28   that Intel’s engineers merely explained their practice not to look at others’ patents (to avoid being
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 1   “influenced”), and instead focused on their own “innovations.” Dkt. 678-21 [Chen] 12:10-13:11; Dkt.

 2   678-10 [Therien] 394:20-396:21. VLSI cites no case where such testimony was found to amount to

 3   willful blindness and no evidence linking its allegations about Intel’s supposed “policy” to the asserted

 4   patents. VLSI also alleges no facts remotely close to those in Global-Tech Appliances, Inc. v. SEB

 5   S.A., which found willful blindness because the accused infringer intentionally copied its competitor’s

 6   product, despite knowing patents likely covered the copied design. 563 U.S. 754, 770-71 (2011).

 7           Fourth, VLSI argues that Intel had sufficient post-suit knowledge based on the filing of the

 8   complaint. Opp. 24. But multiple courts—including in this District—have rejected reliance on a

 9   complaint to establish the knowledge needed for willful and indirect infringement. Mot. 22 (collecting

10   cases). Consistent with those decisions, the Federal Circuit has affirmed the dismissal of indirect

11   infringement claims for lack of sufficient knowledge, even after the filing of a complaint. See, e.g.,

12   Artrip v. Ball Corp., 735 F. App’x 708, 713 (Fed. Cir. 2018); Addiction & Detoxification Institute LLC

13   v. Carpenter, 620 F. App’x 934, 938 (Fed. Cir. 2015). Moreover, even if VLSI relies on its complaint

14   for post-suit knowledge of the patents, it has failed to identify evidence showing knowledge of

15   infringement—because every Intel witness questioned on the subject testified that Intel does not

16   infringe and VLSI alleges “no more than ordinary infringement” since filing the case. Mot. 23-24.

17           Finally, VLSI points to other U.S. litigation with Intel, Opp. 25, but ignores that (1) it has lost

18   on or dropped 14 of its 21 patents asserted against Intel, (2) for each of the 3 patents Intel was found

19   to infringe, VLSI lost or dropped its willful infringement claims, and (3) for those 3 patents, the Patent

20   Office has since found 2 of the patents invalid (and the infringement judgment for those patents is still

21   on appeal), and the other patent is still the subject of post-trial motions. Thus, if anything, the litigation

22   history between the parties only reinforces Intel’s subjective belief that it does not infringe.

23           No Enhanced Damages: VLSI argues that the “normal practice” requires deferring a decision

24   on whether it can prove enhanced damages until after “the jury finds Intel willfully infringed.” Opp.

25   25. But as detailed above, the jury should not be allowed even to consider VLSI’s willful infringement

26   claims. Summary judgment of no enhanced damages also is warranted because VLSI does not identify

27   any facts sufficient to show “‘egregious’ conduct that would warrant enhanced damages under Halo.”

28   See Finjan, Inc. v. Cisco Sys. Inc., 2017 WL 2462423, at *5 (N.D. Cal. June 7, 2017) (Freeman, J.).
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 1       Respectfully submitted,

 2       Dated: October 5, 2023
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